Case 2:03-cv-02155-.]PI\/|-STA Document 104 Filed 06/01/05 Page 1 of 2 Page|D 102

iN THE UNITED sTATEs DISTRICT COURT Fn.sr) ev ,U§&i D.G.
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 05 JUH » l PH br l 2

 

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) \?{r\:;)\ 0:: iii simms
RICKY D. ADAMS, )
)
Plaintiff, )
)
v. ) Docket NO. 03-2] 55 Ml/A
)
CITY OF MEMPHIS / )
(Fire Depa;r'tment), )
)
Defendant. )
)

 

ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION FOR ENLARGEMENT
OF TIME TO FILE ANSWER TO THE SECOND AMENDED COMPLAINT

 

Before the Coul't is Defendant City of Memphis’ Unopposed Motion Enlargement of Time
to File Answer to the Second Amended Complaint.

TT lS THEREFORE ORDERED, ADJUDGED AND DECREED, that Defendant’s
Unopposed Motion for Enlargement of Time to File Answer to the Second Amended Complaint is
granted The Clerk is advised to file the Answer to Second Amended Complaint in the record of this

CB.US€.

   
 

W 99 ,2005.

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ONO LE JON PHIPPS MCCALLA
ITE STATES DISTRICT JUDGE

IT lS SO ORDERED this f day of

 

Thls document entered on the docke_tsheet ln compliance
with sues 58 and/or 79(3) FRCP on C/' 12 '6`\‘5

 

   

UND1TE` sTAET D1STR1CT OURT - WESTE NDT"ISR1C OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 104 in
case 2:03-CV-02155 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

